                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

National Association of Diversity Officers
in Higher Education, et al.,

                  Plaintiffs,

       v.
                                               Civil Action No. 1:25-cv-333-ABA

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                  Defendants.




            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
             MOTION TO CLARIFY PRELIMINARY INJUNCTION ORDER
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       Plaintiffs move the Court to clarify the reach of the preliminary injunction order it issued

on February 21, ECF No. 45 (“PI Order”). Counsel for the government informed Plaintiffs that it

believes the PI Order applies only to those agencies who were named as Defendants in the

Complaint. See Decl. of Ananda V. Burra (“Burra Decl.”), Ex. B (DOJ Email). Unlike the

Government, Plaintiffs believe the PI Order enjoins every federal agency that is in “active concert

or participation” with the twenty-three named Defendants. Of note, the Department of Justice

(“DOJ”), the Office of Management and Budget (“OMB”), and President Trump are all named

Defendants. Every executive branch agency 1 is in “active concert or participation” with the

President and these two agencies in implementing his anti-DEIA Executive Orders (“EOs”). 2

Executive branch agencies, even those not named as Defendants, were on notice that the Court’s

order reached them, including through actual notice to DOJ and its counsel of record in this matter.

Even more, Plaintiffs referred to the actions of several non-named agencies in their papers and the

Court referred to their implementation of the EOs in the opinion accompanying the PI Order.

Because the federal government and non-named agencies have been on notice, they will suffer no

prejudice if the Court’s Order is clarified to extend to them. Plaintiffs conferred with counsel for

Defendants via email and were informed that the government intends to oppose Plaintiffs’ motion.

                                             FACTS

       Plaintiffs filed their Complaint on February 3, less than two weeks after the challenged

Orders were issued and before the sheer scale of their effects were clear. Between filing the


1
 Plaintiffs refer to “agencies” for the sake of convenience, but their understanding is that the PI
Order extends to all subdivisions of the executive branch that report to the President and were
ordered by him, DOJ, or OMB to enforce the January 20 and January 21 Executive Orders.
2
 Exec. Order 14,151, Ending Radical and Wasteful Government DEI Programs and Preferencing,
90 Fed. Reg. 8330 (Jan. 29, 2025) (the “J20 Order”), and Exec. Order 14,173, Ending Illegal
Discrimination and Restoring Merit-Based Opportunity, 90 Fed. Reg. 8633 (Jan. 31, 2025) (the
“J21 Order”) (collectively the “EOs” or the “Orders”).


                                                 1
complaint and moving for the Temporary Restraining Order and/or Preliminary Injunction on

February 13, Plaintiffs learned that several agencies, both named as Defendants and not, were

enforcing the Orders and causing direct harm to Plaintiffs and others similarly situated. Plaintiffs

submitted proof of these actions along with their motion and their reply in further support of that

motion. See ECF Nos. 27-14, 27-16, 27-17, 27-18, 27-21, 27-22, 39-5, and 39-8 to 39-14.

Plaintiffs subsequently drew the Court’s attention to continued enforcement of the Orders by non-

named agency AmeriCorps. See Pls. Notice of Correction and Suppl. Facts, ECF No. 43. The

Court entered its PI Order on February 21. Since then, Plaintiffs have heard of several agencies,

especially agencies not named as Defendants, continuing to terminate grants and enforce

certification requirements despite the Court’s PI Order. On February 25, Plaintiffs sought clarity

from DOJ about the steps it had taken to ensure compliance with the PI Order. Burra Decl., Ex. A

(Plaintiffs’ Email). They were informed that DOJ had only circulated notice of the PI Order to

named agencies and did not believe the Order extended to other agencies. See Burra Decl., Ex. B

(DOJ Email). In parallel, Plaintiffs learned that terminations were picking up pace. On Tuesday,

February 25, the U.S. Department of Agriculture—a named Defendant—reportedly cancelled a

federal tree planting grant, apparently on the basis of “equity” and “diversity” related language in

the grant (including, it appears, references to “tree equity” and “biodiversity”). See Karl Schneider,

Indianapolis program killed by federal government sought diversity ... among trees, IndyStar (Feb.

26, 2025), https://tinyurl.com/5bwesb8d.       On Wednesday, February 26, the Department of

Housing and Urban Development (HUD)—a non-named agency—appears to have moved to

cancel large numbers of contracts on the basis that the federal government did not agree with the

DEI-related content in contractual counterparties’ public social media postings.            See Josh

Kovensky, DOGE Cites ‘DEI,’ LinkedIn Profiles It Doesn’t Like in Killing Off HUD Contracts,




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Talking Points Memo, https://tinyurl.com/4nd5n7vj. Plaintiffs notified DOJ that they intended to

seek clarification from the Court on the scope of the PI Order and were asked to identify instances

of violations of the PI Order, but DOJ provide no clarity on who it believes is covered by the PI

Order. Burra Decl., Ex. C (Email Correspondence). In light of DOJ’s statement that it did not read

the PI Order to cover non-named agencies, and the immediate and substantial harm Plaintiffs and

others like them are suffering at the hands of non-named agencies, Plaintiffs move to clarify the

Court’s order and seek expedited briefing on their motion. 3

                                        LEGAL STANDARD

        A non-party to a preliminary injunction is bound if it is “identified with [the defendants] in

interest,   in   ‘privity’   with      them,   represented   by    them    or    subject   to    their

control.” Golden State Bottling Co. v. N.L.R.B., 414 U.S. 168, 179 (1973) (quoting Regal

Knitwear Co. v. N.L.R.B., 324 U.S. 9, 14 (1945)); Cal. Chamber of Com. v. Council for Educ. &

Rsch. on Toxics, 29 F.4th 468, 483 (9th Cir. 2022) (same); De Simone v. VSL Pharms., Inc., No.

CV TDC-15-1356, 2021 WL 3023021, at *3 (D. Md. July 16, 2021) (same). “In general ‘there is

privity between officers of the same government.’” Nat. Res. Def. Council v. U.S. Env’t Prot.

Agency, 38 F.4th 34, 57 n.18 (9th Cir. 2022) (quoting Sunshine Anthracite Coal Co. v. Adkins, 310

U.S. 381, 402–03 (1940)). “As the Supreme Court has explained, the purpose of this rule is to

prevent defendants from ‘nullify[ing] a decree by carrying out prohibited acts through aiders and

abettors.’” K.C. ex rel. Afr. H. v. Shipman, 716 F.3d 107, 115-16 (4th Cir. 2013) (quoting Regal

Knitwear Co., 324 U.S. at 14) (holding that a contracted agent of an enjoined party is covered by

“active concert and participation”).



3
  If the Court denies Plaintiffs’ motion, Plaintiffs will seek to amend the complaint to expressly
name additional federal agencies as Defendants. Plaintiffs believe that path would not be in the
interests of judicial economy, especially given the plain language of the Court’s PI Order.


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                                          ARGUMENT

  I.   The PI Order, on its face, enjoins non-named agencies in “active concert or
       participation” with Defendants.

       The plain text of the PI Order bars named and non-named agencies alike from enforcing

the J20 Order and J21 Order. “The starting point for interpreting a court order is the plain meaning

of the text.” Adem v. Bush, No. CIV.A. 05-723 RWR AK, 2006 WL 1193853, at *4 (D.D.C.

Apr. 28, 2006); see also Glymph v. D.C., No. 01-CV-1333 (GMH), 2018 WL 10715454, at *6

(D.D.C. Apr. 17, 2018) (collecting cases). The PI Order defines the “Enjoined Parties” as all

“Defendants other than the President, and other persons who are in active concert or participation

with Defendants.” PI Order ⁋ 3. This language, modeled on Federal Rule of Civil Procedure 65(d),

is “derived from the common-law doctrine that a decree of injunction not only binds the parties

defendant but also those identified with them in interest, in ‘privity’ with them, represented by

them or subject to their control.” Regal Knitwear Co., 324 U.S. at 13. There can be little doubt

that non-named agencies are “in active concert or participation with Defendants,” id., or otherwise

are “in ‘privity’ with them, represented by them or subject to their control.” Golden State Bottling

Co., 414 U.S. at 179.

       The general rule is that “there is privity between officers of the same government,’” Nat.

Res. Def. Council, 38 F.4th at 57 n.18, and there is no reason to depart from that principle here.

        First, because the executive branch has insisted that no agency may diverge from the law

as interpreted by DOJ—a Defendant and Enjoined Party—all agencies are definitionally acting in

concert with DOJ when they enforce the President’s Orders. In another recent Executive Order

intended to “ensure Presidential supervision and control of the entire executive branch,” the

President directed that the “President and the Attorney General, subject to the President’s

supervision and control, shall provide authoritative interpretations of law for the executive branch”



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and that such “opinions on questions of law are controlling on all employees in the conduct of their

official duties.” Executive Order, Ensuring Accountability for All Agencies (Feb. 18, 2025) §§ 1,

7, https://tinyurl.com/56cmbwmt. Under that order, only the President and the Attorney General

may issue authoritative interpretations of law, and a fact sheet released by the White House

explained that the order clarified that the “President and the Attorney General (subject to the

President’s supervision and control) will interpret the law for the executive branch, instead of

having separate agencies adopt conflicting interpretations.” White House, Fact Sheet: President

Donald J. Trump Reins in Independent Agencies to Restore a Government that Answers to the

American People (Feb. 18, 2025), https://tinyurl.com/mvecnrkw. If there was any doubt about the

scope of the February 18 Executive Order, the President asked his White House Staff Secretary to

explain that it “reestablishes the long-standing norm that only the president or the attorney general

can speak for the United States when stating an opinion as to what the law is.” Will Scharf, White

House Staff Secretary, Remarks by President Trump After Executive Order Signing (Feb. 18,

2025), https://tinyurl.com/33ddya3z. Therefore, non-named agencies would also be required to

stop enforcing the Termination, Certification, and Enforcement provisions of the EOs in the same

way the Attorney General and DOJ are enjoined from enforcing those provisions.

         Second, all agencies are directed by the terms of the J20 Order and J21 Order to act in

concert with DOJ, the Attorney General, the Office of Management and Budget (OMB), and the

Director of the OMB—all named Defendants and all Enjoined Parties. 4 The J20 Order requires

that “[e]ach agency, department, or commission head, in consultation with the Attorney General,

the Director of OMB, and the Director of OPM, as appropriate, shall” enforce the provisions of

that Executive Order that have now been enjoined. J20 Order § 2(b). The J21 Order requires that



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    President Trump is a named Defendant but is not an “Enjoined Party.”


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the “Director of the Office of Management and Budget (OMB), with the assistance of the Attorney

General as requested, shall” review the federal government’s compliance with President Trump’s

wish to “[r]eview and revise” “all Government-wide processes.”             J21 Order § 3(c).     The

“Enforcement Threat Provision” of the J21 Order similarly requires “the Attorney General, within

120 days of this order, in consultation with the heads of relevant agencies and in coordination with

the Director of OMB,” to prepare a strategic plan to “deter” DEI programs. J21 Order § 4(b)(3).

In other words, all federal agencies are required by the enjoined provisions in the Orders to consult

with and act at the direction of named Defendants: DOJ, the Attorney General, the OMB, and its

Director. Thus, to the extent any agency implements the Orders, it does so “in active concert or

participation with” named Defendants.

 II.   Non-named agencies suffer no prejudice and have been on notice regarding the reach
       of the PI Order.

       Regardless of whether they were explicitly named, all federal agencies had sufficient notice

of the preliminary injunction and will suffer no prejudice if the Court grants this motion. At a

minimum, these agencies have “actual knowledge” of the PI Order as of February 27, 2025,

because Plaintiffs’ counsel had several non-named agencies served through their agency counsel’s

offices and/or email, Burra Decl. ⁋⁋ 5, 6, after learning of DOJ’s position that it did “not intend to

instruct non-defendant agencies to comply with the Order.” Burra Decl., Ex. B (DOJ Email).

       But even without that service to non-named agencies, it is sufficient that DOJ—both a

named Defendant and Enjoined Party—had “actual notice” of the PI Order through its counsel of

record in this matter. Defendants cannot artificially narrow the scope of the PI Order by refusing

to directly inform non-named agency clients of the PI Order’s existence. To permit this would

frustrate the purpose of the rule, which is to ensure that “defendants may not nullify a decree by

carrying out prohibited acts through aiders and abettors, although they were not parties to the



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original proceeding.” Regal Knitwear Co., 324 U.S. at 14. Accordingly, the Court’s “inherent

power to vindicate its authority” should not be “inflexibly bound by procedural niceties.” United

States v. Wilson, No. 89-5193, 1990 WL 101609, at *2 (4th Cir. 1990).

       The Court can also impute DOJ’s knowledge to non-named agencies because DOJ acts as

their counsel. See, e.g., 28 U.S.C. § 516 (“conduct of litigation in which the United States, an

agency, or officer thereof is a party, or is interested . . . is reserved to officers of the Department

of Justice”). Courts routinely impute knowledge to clients in other contexts. See, e.g., Link v.

Wabash R.R. Co., 370 U.S. 626, 634 (1962) (“[E]ach party . . . is considered to have notice of all

facts, notice of which can be charged upon the attorney.” (cleaned up)); Wells Fargo Bank, N.A.

v. AMH Roman Two NC, LLC, 859 F.3d 295, 303 (4th Cir 2017) (in context of bankruptcy filing,

“notice to the attorney is notice to the client”); Mansfield v. Anesthesia Associates, Ltd., 1:07cv941

(JCC), 2008 WL 4463622, at *9 (E.D. Va. Oct. 1, 2008) (in context of “newly discovered

evidence” under Fed. R. Civ. P. 60(b), “[a] party is considered to have notice of all facts of which

his attorney has notice”).

       In fact, the Federal Rules of Civil Procedure state that federal agencies cannot complain of

a lack of notice for the purpose of becoming defendants in a lawsuit through amendment, when

“process was delivered or mailed to the United States attorney or the United States attorney's

designee, to the Attorney General of the United States, or to the officer or agency.” Fed. R. Civ.

P. 15(c)(2). The same principle—“that timely notice to the AUSA who represented the originally

named officers is sufficient to protect the interest of” those federal agencies that were not

previously listed as Defendants—applies to notice and an opportunity to defend in this case.

Montgomery v. Johnson, No. 7:05CV00131, 2008 WL 4452465, at *5 (W.D. Va. Sept. 27, 2008).

       Non-named agencies were long on notice about the PI Order’s scope, and especially that




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Plaintiffs and the Court believed that non-named agencies’ actions were reflective of the executive

branch’s interpretation and enforcement of the Orders. For instance, Plaintiffs submitted evidence

of enforcement of the Orders by AmeriCorps, the Federal Communications Commission, and the

National Endowment of the Arts as part of their motion for a preliminary injunction and the reply

thereto. See ECF Nos. 39-8 to 39-14. None of these three agencies are named Defendants in this

lawsuit as originally filed. The Court subsequently cited these agencies’ actions in explaining its

rationale for granting the PI Order, including by mentioning non-Defendant agencies by name. PI

Opinion at 13 (FCC and NEA), 22-25 (AmeriCorps), ECF No. 44. There is no indication that DOJ

has any arguments regarding non-named agencies that it could not have brought—and did not

bring—regarding named agencies.

       Finally, the scope of relief should extend to all similarly situated federal agencies to prevent

“confusion about which companies or providers are subject to a rule and which are not”—a result

that would contradict this Court’s instruction that “instead, a court order must be clear and

definite.” Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 504 (D. Md. 2020); see also

PI Opinion at 61-62 (“[T]he Termination and Enforcement Threat Provisions are

unconstitutionally vague as to all contractors and grantees who are subject to them, and the

Certification and Enforcement Threat Provisions are content- and viewpoint-based restrictions that

chill speech as to anyone the government might conceivably choose to accuse of engaging in

speech about ‘equity’ or ‘diversity’ or ‘DEI,’ or the other topics the J20 and J21 Orders cite—or

as the Attorney General cites, for example, ‘unconscious bias,’ ‘cultural sensitivity’ or ‘inclusive

leadership.’”). If some agencies were allowed to further cancel grants, require certifications, and

threaten enforcement against private entities, even if others were enjoined, that would leave the

relief the Court granted illusory, as the chilling effects of the EOs would persist.




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III.     The Court has jurisdiction to clarify its PI Order despite the pending appeal.

         Although as a general rule “[t]he filing of a notice of appeal divests the district court of its

control over those aspects of the case involved in the appeal,” Griggs v. Provident Consumer Disc.

Co., 459 U.S. 56, 58 (1982) (internal quotation marks omitted), this Court “does not lose

jurisdiction to proceed as to matters in aid of the appeal,” Lytle v. Griffith, 240 F.3d 404, 408 n.2

(4th Cir. 2001). By ruling on Plaintiffs’ motion to clarify, this Court will “aid[] in this appeal by

relieving” the Fourth Circuit from “considering the substance of an issue” that is purely the result

of uncertainty generated by the parties. Id.; see also Am. Coll. of Obstetricians & Gynecologists

on behalf of Council of Univ. Chairs of Obstetrics & Gynecology v. U.S. Food & Drug Admin.,

No. CV TDC-20-1320, 2020 WL 8167535, at *1 (D. Md. Aug. 19, 2020) (holding that the “in aid

of appeal” exception is applicable to motions to “clarify” the scope of preliminary injunctions

while an appeal is pending).

                                            CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

to clarify that the Preliminary Injunction Order encompasses all federal agencies that were ordered

by the President and other enjoined Defendants to enforce his Orders.


         Respectfully submitted,

                                                        /s/ Ananda V. Burra
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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system and all attachments will
be sent electronically on February 27, 2025, to the registered participants as identified on the
Notice of Electronic Filing (NEF).


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